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                                    No. 17-
                      ________________________________

                        UNITED STATES COURT OF APPEALS
                           FOR THE SEVENTH CIRCUIT
                      ________________________________

 ANDREW U. D. STRAW,
 Plaintiff-Appellant,
        v.
 INDIANA SUPREME COURT, ET. AL.
 Defendant-Appellees.
                      ________________________________

                       Appeal from the United States District Court
                          For the Southern District of Indiana
                            Case No. 1:16-cv-3483-JMS-TAB
                       The Honorable Judge Jane Magnus-Stinson
                      ________________________________

                               NOTICE OF APPEAL
                      ________________________________

 NOTICE IS HEREBY GIVEN that plaintiff, Andrew U. D. Straw, hereby appeals to the

 United States Court of Appeals for the Seventh Circuit from the final Judgment by the

 Honorable Jane Magnus-Stinson entered on February 16, 2017, Docket number 38,

 including all prior interlocutory rulings.

 Respectfully submitted this 16th Day of February, 2017.

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